Case 3:17-cv-00072-NKM-JCH Document 1257 Filed 10/18/21 Page 1 of 6 Pageid#: 21078
Case 3:17-cv-00072-NKM-JCH Document 1257 Filed 10/18/21 Page 2 of 6 Pageid#: 21079
Case 3:17-cv-00072-NKM-JCH Document 1257 Filed 10/18/21 Page 3 of 6 Pageid#: 21080
Case 3:17-cv-00072-NKM-JCH Document 1257 Filed 10/18/21 Page 4 of 6 Pageid#: 21081
Case 3:17-cv-00072-NKM-JCH Document 1257 Filed 10/18/21 Page 5 of 6 Pageid#: 21082
NKM-JCH Document 1257 Filed 10/18/21 Page 6
